Case 2:18-cv-09573-JFW-JPR Document 186 Filed 07/23/21 Page 1 of 3 Page ID #:4750




    1 Logan D. Smith (SBN 212041)
      lsmith@mcnamarallp.com
    2 McNamara Smith LLP
      655 West Broadway, Suite 900
    3 San Diego, California 92101
      Telephone: 619-269-0400
    4 Facsimile: 619-269-0401
    5 Attorneys for Receiver,
      Thomas W. McNamara
    6
    7
    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11 FEDERAL TRADE COMMISSION,                    Case No. 2:18-cv-09573-JFW (JPRx)
   12                     Plaintiff,               RECEIVER’S NOTICE OF
                                                   UNOPPOSED MOTION AND
   13        v.                                    UNOPPOSED MOTION TO
                                                   EXTEND COMPLETION
   14 APEX CAPITAL GROUP, LLC, et al.,             DEADLINE FOR RECEIVERSHIP
                                                   AND INTERIM STATUS REPORT
   15                     Defendants.
                                                   JUDGE:     Hon. John F. Walter
   16                                              CTRM:      7A
                                                   DATE:      August 23, 2021
   17                                              TIME:      1:30 p.m.
   18
   19
   20        TO THE HONORABLE JOHN F. WALTER, UNITED STATES
   21 DISTRICT COURT JUDGE, AND TO ALL PARTIES AND THEIR
   22 ATTORNEYS OF RECORD:
   23        PLEASE TAKE NOTICE that on August 23, 2021 at 1:30 p.m. in
   24 Courtroom 7A of the United States District Court for the Central District of
   25 California, located at 350 W. First Street, Los Angeles, California, Thomas W.
   26 McNamara, the Court-appointed receiver of the Receivership Entities, will present
   27 his Unopposed Motion to Extend Completion Deadline for Receivership. Counsel
   28 for the Federal Trade Commission does not object to this motion.
                                          1       Case No. 2:18-cv-09573-JFW (JPRx)
                  RECEIVER’S UNOPPOSED MOTION TO EXTEND COMPLETION DEADLINE
Case 2:18-cv-09573-JFW-JPR Document 186 Filed 07/23/21 Page 2 of 3 Page ID #:4751




    1        This motion is supported by this notice of motion and motion, the
    2 concurrently filed memorandum of points and authorities, all pleadings and records
    3 on file, and any argument heard hereon.
    4
    5 Dated: July 23, 2021                  MCNAMARA SMITH LLP
    6
                                            By: /s/ Logan D. Smith
    7                                         Logan D. Smith
                                              Attorneys for Receiver,
    8                                         Thomas W. McNamara
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                         2       Case No. 2:18-cv-09573-JFW (JPRx)
                 RECEIVER’S UNOPPOSED MOTION TO EXTEND COMPLETION DEADLINE
Case 2:18-cv-09573-JFW-JPR Document 186 Filed 07/23/21 Page 3 of 3 Page ID #:4752




    1                             CERTIFICATE OF SERVICE
    2
    3         I hereby certify that on July 23, 2021, I caused the foregoing to be
    4 electronically filed with the Clerk of the Court using the CM/ECF system, which
    5 will send notification of the filing to all participants in the case who are registered
    6 CM/ECF users.
    7
    8  /s/ Logan D. Smith
      Logan D. Smith
    9 Attorney for Receiver,
      Thomas W. McNamara
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                              Case No. 2:18-cv-09573-JFW (JPRx)
                                                                    CERTIFICATE OF SERVICE
